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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                                    CRIMINAL ACTION NO. 4:08CR066-P-S

TYPHRON ARMSTRONG,
STACY BROWN,
EVELYN JACKSON,
JAMES HENRY TURNER, III,
SHANISHA WILLIAMS,
and KELLY YOUNG                                                                      DEFENDANTS.

                                 ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant Typhron Armstrong’s motion to continue

trial [72]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set for July 13, 2009. Defense counsel requests a continuance to afford

more time receive and complete inspection of discovery material, prepare any necessary pretrial

motions, and to accommodate a previously-scheduled matter in Circuit Court.

        The Government has no objection to the continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(7)(A), the period of delay from July 13, 2009 until the new trial date to be set in this matter.

The time is excludable under subsection (h)(7)(A) because, given the circumstances described

above, a continuance is necessary to afford the defendant’s counsel more time to adequately prepare

for his client’s defense. As such, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendant in a speedy trial. The time is also

excludable as to Defendant Armstrong’s co-defendants pursuant to 18 U.S.C. section 3161(h)(6)

because the period of delay is reasonable and no motions for severance have been granted.

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       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant Typhron Armstrong’s motion to continue trial [72] is GRANTED;

       (2) Trial of this matter is continued as to all defendants until Monday, September 21, 2009

at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from July 13, 2009 to September 21, 2009 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is August 31, 2009; and

       (5) The deadline for submitting a plea agreement is September 7, 2009.

       SO ORDERED this the 12th day of June, A.D., 2009.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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